2/27/2018                                                         printer | ProtonMail




RE: Cantwell v. Gorcenski

Sent:  February 26, 2018 5:36 PM

From: Sandra Freeman sandra.c.freeman@protonmail.com

To: Elmer Woodard isuecrooks@comcast.net

CC: Moira Meltzer­Cohen Mo_At_Law@protonmail.com, pamstarsia@starsialaw.com
pamstarsia@starsialaw.com


   Thank you for the clarification. 

   What do you propose we do regarding the development of a discovery plan and schedule as ordered by the
   Court?

   Sandra C. Freeman, Esq. 
   5023 W. 120th Avenue, #280 
   Broomfield, Colorado 80020 
   sandra.c.freeman@gmail.com 
   sandra.c.freeman@protonmail.com 
   720-593-9004 (office) 
   303-469-9547 (fax) 




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   ­­­­­­­­ Original Message ­­­­­­­­ 
   On February 26, 2018 9:54 AM, Elmer Woodard <isuecrooks@comcast.net> wrote: 


       Yes I am going to move to amend. 

         

       From: Sandra Freeman [mailto:sandra.c.freeman@protonmail.com]
       Sent: Monday, February 26, 2018 11:25 AM
       To: Elmer Woodard <isuecrooks@comcast.net>
       Cc: Pam Starsia <pamstarsia@protonmail.com>; Moira Meltzer-Cohen
       <Mo_At_Law@protonmail.com>
       Subject: Re: Cantwell v. Gorcenski
            Case 3:17-cv-00089-NKM-JCH Document 15-2 Filed 02/27/18 Page 1 of 3 Pageid#: 182
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2/27/2018                                                         printer | ProtonMail
         

       Hi Elmer, 

         

       I just wanted to follow up on this because we need to provide the Court with a discovery plan tomorrow.
       Do you have time to talk this afternoon or would you prefer to plan via email?  

         

       Sandra C. Freeman, Esq. 

       5023 W. 120th Avenue, #280 

       Broomfield, Colorado 80020 

       sandra.c.freeman@gmail.com 

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       ­­­­­­­­ Original Message ­­­­­­­­ 

       On February 21, 2018 10:09 PM, Sandra Freeman <sandra.c.freeman@protonmail.com> wrote: 

         

            Hi Elmer, 

              


            Case 3:17-cv-00089-NKM-JCH Document 15-2 Filed 02/27/18 Page 2 of 3 Pageid#: 183
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2/27/2018                                                         printer | ProtonMail
            Are you still planning to amend your complaint, or would you like to confer about a discovery
            plan so that we can inform the Court by next Tuesday? 

              

            Sandra C. Freeman, Esq. 

            5023 W. 120th Avenue, #280 

            Broomfield, Colorado 80020 

            sandra.c.freeman@gmail.com 

            sandra.c.freeman@protonmail.com 

            720-593-9004 (office) 

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